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Stephen G. Wilcox
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ATTORNEY FOR FORD MOTOR CREDIT COMPANY LLC

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IN RE:                                          §
                                                §
NATIONAL RIFLE ASSOCIATION OF                   §
AMERICA,                                        §     CASE NO. 21-30085-SGJ-11
          DEBTOR,                               §
                                                §
FORD MOTOR CREDIT COMPANY LLC,                  §
         MOVANT,                                §
                                                §
VS.                                             §     A Hearing on the Motion for
                                                §     Relief from the Automatic Stay
NATIONAL RIFLE ASSOCIATION OF                   §     or, in the Alternative, Request
AMERICA,                                        §     for Adequate Protection set:
          RESPONDENT.                           §     MARCH 25, 2021 AT 1:30 P.M.

              MOTION FOR RELIEF FROM THE AUTOMATIC STAY
      OR, IN THE ALTERNATIVE, REQUEST FOR ADEQUATE PROTECTION
TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:
         COMES NOW, Ford Motor Credit Company LLC, servicer for CAB East LLC ("Ford")
complaining of National Rifle Association of America ("Debtor") and for cause would respectfully
show the Court as follows:
         1.    This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 157 and 11
U.S.C. §§ 362 and 365. This is a core proceeding.
         2.    Ford is a corporation doing business in Texas. Debtor is a corporation which may
be served at 11250 Waples Mill Road, Fairfax, VA 22030.
WITH REGARD TO THE 2017 FORD EXPEDITION, VIN ENDING IN 4902
         3.    Ford is a lessor of a 2017 Ford Expedition, Vehicle Identification Number
1FMJK1JT1HEA54902 to Debtor.
         4.    The lease payments are $910.49 per month. As of February 24, 2021, the account
was due for the January 30, 2021 payment and all payments due since that time. The total arrears
due as of February 24, 2021 were $910.49.

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WITH REGARD TO THE 2018 FORD EXPLORER
        5.      Ford is a lessor of a 2018 Ford Explorer, Vehicle Identification Number
1FM5K8DH3JGB04775 to Debtor.
        6.      The lease payments are $565.07 per month. As of February 24, 2021, the account
was due for the January 25, 2021 payment and all payments due since that time. The total arrears
due as of February 24, 2021 were $565.07.
WITH REGARD TO THE 2017 FORD EXPEDITION, VIN ENDING IN 5442
        7.      Ford is a lessor of a 2017 Ford Expedition, Vehicle Identification Number
1FMJU1JT2HEA85442 to Debtor.
        8.      The lease payments are $799.91 per month. As of February24, 2021, the account was
due for the February 15, 2021 payment and all payments due since that time. The total arrears due
as of February 24, 2021 were $801.78.
WITH REGARD TO ALL VEHICLES
        9.      But for the automatic stay, Ford could and would terminate the Lease and repossess
the vehicles it leases to Debtor.
        10.     Ford does not have and Debtor is not able to offer adequate protection of Ford's
interest in the vehicle.
        11.     Debtor has no equity in the vehicles or the Lease and same are not necessary for an
effective reorganization.
        12.     Debtor should be compelled to reject the unexpired lease because Debtor cannot
promptly cure the existing arrearage and provide adequate assurance of future performance under
the terms of the unexpired lease as required in 11 U.S.C. § 365.
        13.     Further cause may exist to terminate the automatic stay if the vehicle is not properly
insured. Ford hereby demands proof of insurance.
        14.    Because the leased vehicle described herein depreciates and may not be insured, any
Order either terminating or conditioning the automatic stay should be effective immediately and
there should be no stay of the Order for fourteen days after the entry of the Order.
        WHEREFORE, PREMISES CONSIDERED, Ford Motor Credit Company LLC prays for:
        1.      An Order of this Court granting Ford relief from the automatic stay imposed pursuant
to 11 U.S.C. § 362 and compelling Debtor to reject the lease;
        2.      An Order of this Court authorizing Ford to take immediate possession of the vehicle
which is the subject of this Motion and dispose of the vehicle without further notice to Debtor or any
other party in interest;



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        3.       In the alternative, an Order of this Court requiring Debtor to provide Ford with
adequate protection of its interest and to promptly cure existing arrearage to Ford and remain current
on Debtor's obligations to Ford;
        4.       An Order of this Court finding that any Order entered with regard to this Motion
should be effective immediately upon its entry and should not be stayed for fourteen days following
the entry of said Order; and
        5.       For such other and further relief, both general and specific, to which Ford may show
itself justly entitled.
                                                         Respectfully submitted,
                                                         /s/ Stephen G. Wilcox
                                                         Stephen G. Wilcox
                                                         State Bar Number 21454300
                                                         WILCOX LAW, PLLC
                                                         P.O. Box 201849
                                                         Arlington, TX 76006
                                                         (817) 870-1694 Telephone
                                                         swilcox@wilcoxlaw.net
                                                         ATTORNEY FOR FORD MOTOR CREDIT
                                                         COMPANY LLC

               NOTICE REGARDING REQUIRED ANSWER
PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(b), A RESPONSE IS REQUIRED
TO THIS MOTION, OR THE ALLEGATIONS IN THE MOTION MAY BE DEEMED
ADMITTED, AND AN ORDER GRANTING THE RELIEF SOUGHT MAY BE ENTERED
BY DEFAULT.

ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK OF THE
UNITED STATES BANKRUPTCY COURT AT EARLE CABELL FEDERAL BUILDING,
1100 COMMERCE ST., RM. 1254, DALLAS, TX 75242-1496 BEFORE CLOSE OF
BUSINESS ON MARCH 10, 2021, WHICH IS AT LEAST 14 DAYS FROM THE DATE OF
SERVICE HEREOF. A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING
PARTY AND ANY TRUSTEE OR EXAMINER APPOINTED IN THE CASE. ANY
RESPONSE SHALL INCLUDE A DETAILED AND COMPREHENSIVE STATEMENT AS
TO HOW THE MOVANT CAN BE “ADEQUATELY PROTECTED” IF THE STAY IS TO
BE CONTINUED.


                               CERTIFICATE OF CONFERENCE

       I, the undersigned, hereby certify that prior to the filing of this Motion, I did the following:
My office contacted Debtor’s attorney’s office regarding opposition to the Motion and although
there was a response, it was not specific as to the Motion being opposed or unopposed.

                                                         /s/ Stephen G. Wilcox
                                                         Stephen G. Wilcox


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                                 CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing Motion for Relief from the
Automatic Stay, or, in the Alternative, Request for Adequate Protection was served by FIRST
CLASS MAIL, POSTAGE PREPAID on:

National Rifle Association of America
11250 Waples Mill Road
Fairfax, VA 22030

and to all parties listed on the attached mailing matrix;

and by ELECTRONIC FILING on:

Patrick Neligan, Jr.
325 N. St Paul, Suite 3600
Dallas, TX 75201

United States Trustee
1100 Commerce St., Room 976
Dallas, TX 75202

on February 24, 2021.
                                                        /s/ Stephen G. Wilcox
                                                        Stephen G. Wilcox

                                   SUMMARY OF EXHIBITS

1.     Commercialease Master Lease Agreement dated July 5, 2014.

2.     Supplement to Commercialease Master Lease Agreement dated July 5, 2014 on a 2017 Ford
       Expedition, Vehicle Identification Number 1FMJK1JT1HEA54902.

3.     Certificate of Title on a 2017 Ford Expedition, Vehicle Identification Number
       1FMJK1JT1HEA54902.

4.     Motor Vehicle Lease Agreement dated April 25, 2018 on a 2018 Ford Explorer, Vehicle
       Identification Number 1FM5K8DH3JGB04775.

5.     Certificate of Title on a 2018 Ford Explorer, Vehicle Identification Number
       1FM5K8DH3JGB04775.

6.     Supplement to Commercialease Master Lease Agreement dated July 5, 2014 on a 2017 Ford
       Expedition, Vehicle Identification Number 1FMJU1JT2HEA85442.

7.     Certificate of Title on a 2017 Ford Expedition, Vehicle Identification Number
       1FMJU1JT2HEA85442.

8.     Affidavit of representative of Ford Motor Credit Company.



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*Copies of Exhibits are available by written request to:

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